Case 1:25-cv-00131-RGA              Document 11          Filed 03/07/25     Page 1 of 14 PageID #: 147




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

 PRINCETON CARBONWORKS, INC., a                      )
 Delaware Corporation,                               )
                                                     )
                    Plaintiff,                       )
                                                     )       C.A. No. 1:25-cv-00131-RGA
               v.                                    )
                                                     )
 PAUL DANIELS,                                       )
                                                     )
                    Defendant.                       )

                              FIRST AMENDED AND SUPPLEMENTAL
                             COMPLAINT FOR DECLARATORY RELIEF

          Plaintiff, Princeton CarbonWorks, Inc., a Delaware corporation, brings this action seeking

 declaratory relief against Defendant, Paul Daniels, based on the following allegations and

 statements of law.1

                                                Introduction

          1.        Plaintiff is the surviving Delaware corporation in a merger. It seeks a final judicial

 determination of the rights claimed by a stockholder of the constituent corporation in the merger,

 that was merged out of existence, and to adjudicate the claims by that stockholder for stock in the

 Delaware corporation, as well as confirming the percentage of ownership previously held by that

 stockholder and the value of that stockholder’s alleged ownership interest in the constituent

 corporation that did not survive the merger.

                                 Parties and Related Entities and Persons

          2.        Princeton CarbonWorks, Inc., is a Delaware corporation (“Princeton-Delaware”).




 1
  A redline comparing the original Court of Chancery Complaint to this Amended Complaint is
 attached as Exhibit A.
 153318432.1
                                                         1
Case 1:25-cv-00131-RGA           Document 11         Filed 03/07/25       Page 2 of 14 PageID #: 148




          3.     Paul Daniels claims to be a stockholder in Princeton-Delaware, which is the

 surviving Delaware corporation in a merger with Princeton Carbon Works Inc., a Florida

 corporation (“Princeton-Florida”).

          4.     Non-parties Harrison Macris, Martin Crotty, Bradley Werntz, and Richard

 Furchtgott, in the aggregate owned, at the time of the merger between Princeton-Delaware and

 Princeton-Florida, a majority of the shares in Princeton-Delaware.

                                              Jurisdiction

          5.     This court has jurisdiction based on Sections 111; 169; and 259(a) of the Delaware

 General Corporation Law which give this court the power to determine issues regarding ownership

 of stock in a Delaware corporation, and allows the surviving corporation in a merger to enforce

 the rights of the constituent corporation, as well as granting this court in rem jurisdiction over the

 stock at issue notwithstanding the residence of the person claiming ownership of that stock.

          6.     This Court has in rem jurisdiction, and the due process requirements of minimum

 contacts with Delaware are satisfied because this action “relat[es] directly to the rights or attributes

 inherent in that stock.” Onescreen v. Hudgens, 2010 WL 1223937, *3 (Del. Ch. March 30, 2010)

 (emphasis in the original) (citing Donald J. Wolfe, Jr. & Michael A. Pittenger, Corporate and

 Commercial Practice in the Delaware Court of Chancery §3.04[c][2], at 3-32 (2009) (where the

 capital stock of a Delaware corporation is the subject matter of the litigation, personal jurisdiction

 may exist “where the rights or attributes inherent in the stock of a Delaware corporation that

 ownership of such stock in and of itself might be sufficient to render the exercise of jurisdiction

 over a nonresident owner of such stock constitutionally permissible.”)). “[P]roperty can be used

 as a jurisdictional basis only if it is physically within the territory of the state in which the federal

 court is sitting.” 4A Charles Alan Wright, Arthur R. Miller & Adam N. Steinman, Federal Practice


 153318432.1
                                                    2
Case 1:25-cv-00131-RGA          Document 11        Filed 03/07/25      Page 3 of 14 PageID #: 149




 and Procedure § 1071 (4th ed.) Pursuant to 8 Del. C. § 169, the situs of the ownership of the capital

 stock of all Delaware corporations shall be regarded as in this State. “Shares of stock in a Delaware

 corporation are personal property within the jurisdiction of the Court.” In re Stream TV Networks,

 Inc. Omnibus Agreement Litigation, 283 A.3d 1183, 1193 (Del. Ch. 2022).

          7.    Long-arm service on Daniels is appropriate pursuant to 10 Del. C. §3104(c)(5)

 because Daniels claims an interest in the stock of Princeton-Delaware and the situs of the

 Princeton-Delaware stock is Delaware, pursuant to Section 169 of the Delaware General

 Corporation Law.

          8.    Jurisdiction of this Court is also based upon Section 259(a) of the Delaware General

 Corporation Law, which provides that Delaware-Princeton, as the resulting corporation of the

 merger between Princeton-Florida and Princeton-Delaware, possesses the rights of Princeton-

 Florida, including the right to a determination of the ownership of its stock.

          9.    Jurisdiction of this Court is also based upon Section 169 of the Delaware General

 Corporation Law, which provides that “the situs of the ownership of the capital stock of all

 corporations existing under the laws of this State [] shall be regarded as in this State.” 8 Del. C.

 §169. Jurisdiction is proper based upon the in rem jurisdiction of the Delaware-Princeton shares

 under 8 Del. C. § 169 because the Delaware-Princeton shares Daniels claims to own are the source

 of the controversy and this action is limited to determining true ownership of the Princeton-

 Delaware Shares.

          10.   Jurisdiction of this Court is also based upon Section 111 of the Delaware General

 Corporation Law, which provides this Court power to determine issues regarding ownership of

 stock in a Delaware corporation.




 153318432.1
                                                  3
Case 1:25-cv-00131-RGA          Document 11        Filed 03/07/25     Page 4 of 14 PageID #: 150




          11.   Non-parties Harrison Macris, Martin Crotty, Bradley Werntz, and Richard

 Furchtgott, who Daniels has filed a lawsuit against in federal court in Florida, do not have

 substantial contacts with the State of Florida.

          12.   Daniels is a resident of a suburb of Philadelphia, and has made claims that he is the

 owner of stock in Princeton-Delaware.

                                        Factual Background

          13.   Princeton-Florida was formed in March 2015 to create and sell high-performance

 bicycle wheels.

          14.   The co-founders were Crotty, Werntz, and Macris.

          15.   On or about June 27, 2018, Daniels, Macris, Werntz, Crotty and Princeton-Florida

 entered into a Memorandum of Agreement (“MOA”) in which the parties agreed to surrender or

 transfer shares. On or about the same date, the Princeton-Florida board agreed to issue Daniels 185

 shares in consideration for his past services. The terms of the MOA stated that Daniels’ 185 shares

 represented an 18.5% equity interest in Princeton-Florida.

          16.   In the MOA, Daniels represented that the issuance to him of 185 shares in

 Princeton-Florida completed and satisfied any prior or contemporaneous oral discussions or

 agreements regarding his equity interest in Princeton-Florida.

          17.   There are no agreements entitling Daniels to any preemptive rights and/or anti-

 dilution protections.

          18.   In April 2019, Daniels voluntarily resigned from Princeton-Florida as an employee.

 Until that time, Daniels was the only individual who received a salary.

          19.   In October 2019, the Princeton-Florida board of directors authorized and approved

 the Princeton CarbonWorks Inc. Restricted Management Stock Bonus Plan (the “Plan”) and in


 153318432.1
                                                   4
Case 1:25-cv-00131-RGA         Document 11        Filed 03/07/25     Page 5 of 14 PageID #: 151




 December 2019, the board awarded bonus shares under the Plan to Werntz, Furchtgott, Macris,

 and Crotty in exchange for consideration.

          20.   Princeton-Delaware was formed on June 11, 2024. On June 20 2024, Princeton-

 Delaware issued shares of Princeton-Delaware common stock to Macris, Crotty, Werntz, and

 Furchtgott in exchange for all of their shares of Princeton-Florida stock, resulting in Princeton-

 Delaware owning 93.15% of the shares in Princeton-Florida.

          21.   On June 21, 2024, Princeton-Florida merged with and into Princeton-Delaware,

 with Princeton-Delaware continuing as the surviving corporation (the “Merger”), in accordance

 with Section 252 of the Delaware General Corporation Law (DGCL) and Section 607.1101 of the

 Florida Business Corporation Act (FBCA), pursuant to an Agreement and Plan of Merger.

          22.   In accordance with Sections 251 and 252 of the DGCL, on June 21, 2024,

 Princeton-Delaware filed: (a) a Certificate of Ownership and Merger with the Delaware Secretary

 of State to effectuate the Merger and to change Princeton-Delaware’s name to “Princeton

 CarbonWorks, Inc.”, and (b) Articles of Merger with the Florida Secretary of State to complete the

 Merger.

          23.   Pursuant to Section 2.4 of the Merger Agreement, shares held by Princeton-Florida

 shareholders owning less than 10% of Princeton-Florida’s issued and outstanding shares

 immediately prior to the effective time of the Merger would be cancelled and exchanged for a

 payment of fair value, as defined in FBCA Section 607.1301(5), of $935.14 per share.

          24.   Based on the dilution of his original interest, Daniels—immediately prior to the

 time of the Merger—owned 6.85% of the shares of Princeton-Florida.

          25.   On June 21, 2024: (a) a Notice to Certain Shareholders pursuant to FBCA Section

 607.0704 was emailed and mailed to Daniels informing him that the Merger Agreement had been


 153318432.1
                                                 5
Case 1:25-cv-00131-RGA           Document 11       Filed 03/07/25       Page 6 of 14 PageID #: 152




 adopted by the written consent of Princeton-Florida shareholders having at least the minimum

 number of votes necessary to authorize such action in accordance with the FBCA, and (b) an

 Appraisal Notice was emailed and mailed to Daniels informing him of his rights to assert appraisal

 rights under FBCA Section 607.1301 through 607.1340, for 185 shares with an estimated fair value

 of $173,000.

          26.   On August 1, 2024, Daniels rejected the fair value offer of $173,000 for his 185

 shares. On August 16, 2024, Daniels was provided a formal valuation report prepared by Marcum

 which provided the basis for the value of the shares.

          27.   On August 21, 2024, Daniels sent a letter stating, in part, that: “this is Mr. Daniels’

 Formal Notice of his Withdrawal from the Appraisal Process.” Daniels can no longer participate

 in the statutory appraisal process.

                               Justiciable Controversy and Dispute

          28.   Daniels has made allegations and threatened litigation regarding the following

 issues: (1) that the Merger that eliminated his interest in Princeton-Delaware was not an effective

 squeeze-out of his interest; (2) that he disputes the percentage of ownership he had in Princeton-

 Florida; and (3) that he disputes the value of his ownership interest in Princeton-Florida.

          29.   The Federal Declaratory Judgment Act, 28 U.S.C.A. § 2201(a), provides: “In a case

 of actual controversy within its jurisdiction … any court of the United States, upon the filing of an

 appropriate pleading, may declare the rights and other legal relations of any interested party

 seeking such declaration[.]” “It must be a real and substantial controversy admitting of specific

 relief through a decree of conclusive character, as distinguished from an opinion advising what the

 law would be upon a hypothetical state of facts.” Brockstedt v. Sussex County Council, 794

 F.Supp.2d 489, 499 (D. Del. 2011) (internal quotations and citations omitted). In this case, there is


 153318432.1
                                                  6
Case 1:25-cv-00131-RGA          Document 11        Filed 03/07/25      Page 7 of 14 PageID #: 153




 an actual controversy, as Daniels is asserting that he owns stock in Princeton-Delaware. Because

 the situs of stock in a Delaware corporation is Delaware, pursuant to Section 169 of the Delaware

 General Corporation Law, the controversy is within the jurisdiction of this Court.

                                        Procedural History

          30.   On January 9, 2025, Plaintiff Princeton CarbonWorks filed a complaint seeking

 declaratory relief in the Delaware Court of Chancery. A copy of that complaint was emailed to

 Daniels’ Florida counsel, with a request for Daniels’ counsel to accept service. Because the request

 for acceptance of service was not agreed to, Plaintiff proceeded with formal service of process.

          31.   By Order dated January 22, 2025, Vice Chancellor Fioravanti granted Plaintiff’s

 Application for an Order Permitting Service by Publication. Ex. B. Service was accordingly

 completed pursuant to that Order.

          32.   Specifically, service was completed by publication in the Philadelphia Inquirer on

 January 27, February 3, and February 10, 2025, as well as online at www.inquirer.com, and by

 publication in the Chestnut Hill Local on January 30, February 6, and February 13, 2025, as well

 as online at www.chestnuthilllocal.com. Daniels was also served via Federal Express on January

 22, 2025 (delivery was confirmed), and was also served via registered mail, return receipt

 requested. A delivery attempt was made on January 24, 2025 and a delivery slip was left at Mr.

 Daniels’ address.

          33.   On February 21, 2025, the parties filed a joint Local Rule 81.2 Statement that

 indicated: “On February 13, 2025, Plaintiff completed service as ordered by Vice Chancellor

 Fioravanti.” Ex. C.

          34. Counsel for Daniels also confirmed by telephone call with Princeton-Delaware’s

 counsel that, because state service of process had been completed, further efforts to serve Mr.


 153318432.1
                                                  7
Case 1:25-cv-00131-RGA           Document 11         Filed 03/07/25      Page 8 of 14 PageID #: 154




 Daniels in the federal court would not be necessary, and confirmed via email that: “Mr. Daniels

 agrees that service is effective as of the third date of publication in the Philadelphia Inquirer, which

 was Thursday 2/13.” Ex. D.

          35.    Princeton-Delaware filed its complaint in the Court of Chancery on January 9,

 2025. Daniels filed a complaint in Florida later that same day. Daniels removed the Chancery Court

 matter to this Court on January 31, 2025. (D.I. 1). On February 21, 2025, Daniels moved to dismiss

 the Complaint or transfer it to the United States District Court for the Southern District of Florida.

 (D.I. 7).

          36.    Since filing the Florida complaint, several motions have been filed: (1) Defendants,

 including Princeton-Delaware, moved to dismiss on January 31, 2025; (2) Princeton

 CarbonWorks, Inc. filed a Motion to Drop Improper Party on January 31, 2025; (3) Defendants,

 including Princeton-Delaware filed a motion to stay on February 5, 2025; (4) Daniels responded

 to the Motion to Dismiss on February 26, 2025; (5) Daniels filed a Motion for Judicial Notice

 attaching his Motion to Dismiss and to Transfer the Delaware matter; and (6) Daniels opposed the

 Motion to Drop Improper Party. A hearing on the Motion to Stay is to be held in Florida on March

 14. Ex. E, Florida Docket.

          37.    Daniels has moved to dismiss the Delaware action, and defendants in Florida,

 including Princeton-Delaware, have moved to dismiss the Florida action. If both motions are

 granted, it is possible the merits of the cases will never be addressed.




 153318432.1
                                                    8
Case 1:25-cv-00131-RGA           Document 11         Filed 03/07/25       Page 9 of 14 PageID #: 155




                                           COUNT I
                        Declaratory Judgment Seeking a Declaration that
           Defendant is Not a Shareholder in the Surviving Entity, Princeton-Delaware

           38.   Plaintiffs incorporate by reference the foregoing paragraphs as if fully set forth

 herein.

           39.   Plaintiff seeks a declaration that Defendant’s ownership in Princeton-Florida was

 extinguished via the Merger, and that he therefore owns no stock or other interest in Princeton-

 Delaware.

           40.   Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, et seq., as there is a real controversy involving the rights of the

 parties, an interest is adversely affected, and the issue is ripe for resolution.

           41.   There exists in this case a controversy involving the rights or other legal relations

 of the party seeking declaratory relief. Pursuant to Section 259(a) of the DGCL, “when constituent

 corporations combine in a merger, all property, rights, privileges, powers and franchises, and all

 and every other interest shall be thereafter as effectually the property of the surviving or resulting

 corporation.” Hyde Park Venture Partners Fund III, L.P. v. FairXchange, LLC, 292 A.3d 178, 197

 (Del. Ch. 2023) (internal quotation omitted).

           42.   In this case, Princeton-Delaware, as the surviving entity of the Merger, possesses

 the right to seek a determination of Defendant’s ownership interest at the time of the Merger.

           43.   Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a) et

 seq., and 10 Del. C. § 6501, as the controversy exists between parties whose interests are real and

 adverse. Defendant has articulated his position that he believes he currently holds shares in

 Princeton-Delaware and intends to pursue his purported claims.




 153318432.1
                                                    9
Case 1:25-cv-00131-RGA           Document 11         Filed 03/07/25       Page 10 of 14 PageID #: 156




          44.    Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, as Princeton-Delaware is asserting its claim against Defendant, who

 has an interest in contesting the claim.

          45.    Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, as the determination of Defendant’s status as a stockholder of

 Princeton-Delaware is ripe. The merger extinguishing Princeton-Florida has already occurred, and

 Defendant’s stock has already been extinguished.

          46.    Jurisdiction over Defendant exists in this case, as the ownership of stock in a

 Delaware Corporation can serve as a jurisdictional basis when the action relates “directly to the

 legal existence of stock or its characteristics or attributes.” Germaninvestments AG v. Allomet

 Corp., 2020 WL 6870459, at *11 (Del. Ch. Nov. 20, 2020). “[P]roperty can be used as a

 jurisdictional basis only if it is physically within the territory of the state in which the federal court

 is sitting.” 4A Charles Alan Wright, Arthur R. Miller & Adam N. Steinman, Federal Practice and

 Procedure § 1071 (4th ed.) Pursuant to 8 Del. C. § 169, the situs of the ownership of the capital

 stock of all Delaware corporations shall be regarded as in this State. “Shares of stock in a Delaware

 corporation are personal property within the jurisdiction of the Court.” In re Stream TV Networks,

 Inc. Omnibus Agreement Litigation, 283 A.3d 1183, 1193 (Del. Ch. 2022). Because Daniels claims

 an interest in the stock of a Delaware corporation, jurisdiction is proper.


          47.    This court should determine that the Merger extinguished the stock owned by

 Defendant in Princeton-Florida and that Defendant does not own stock or any other equity interest

 in Princeton-Delaware.




 153318432.1
                                                    10
Case 1:25-cv-00131-RGA          Document 11         Filed 03/07/25       Page 11 of 14 PageID #: 157




                                         COUNT II
                      Declaratory Judgment to Determine the Percentage of
                          Defendant’s Ownership in Princeton-Florida

           48.   Plaintiffs incorporate by reference the foregoing paragraphs as if fully set forth

 herein.

           49.   Plaintiff seeks a declaration that before the Merger, Defendant was the owner of

 6.85% of the outstanding stock of Princeton-Florida.

           50.   Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, et seq., as there is a real controversy between the parties, an interest

 is adversely affected, and the issue is ripe for resolution.

           51.   There exists in this case a controversy involving the rights or other legal relations

 of the party seeking declaratory relief. Pursuant to Section 259(a) of the DGCL, “when constituent

 corporations combine in a merger, all property, rights, privileges, powers and franchises, and all

 and every other interest shall be thereafter as effectually the property of the surviving or resulting

 corporation.” Hyde Park Venture Partners Fund III, L.P. v. FairXchange, LLC, 292 A.3d 178, 197

 (Del. Ch. 2023) (internal quotation omitted).

           52.   In this case, Princeton-Delaware, as the surviving entity of the merger between

 Princeton-Florida and Princeton-Delaware, now possesses the right to seek a determination of the

 amount of stock that Defendant owned in Princeton-Florida as a result of the Transaction pursuant

 to 8 Del. C. §259(a).

           53.   Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, et seq., as Princeton-Delaware is asserting its claim against

 Defendant, who has an interest in contesting the claim.




 153318432.1
                                                   11
Case 1:25-cv-00131-RGA          Document 11         Filed 03/07/25       Page 12 of 14 PageID #: 158




           54.   Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, as the controversy exists between parties whose interests are real

 and adverse, and the determination of Defendant’s percentage interest in the Florida Entity is ripe.

 Defendant has articulated his position that he disputes his ownership percentage prior to—and

 after—the Merger, and intends to pursue his purported claims.

           55.   This court should make a determination that Defendant’s percentage interest in

 Princeton-Florida prior to the Merger was 6.85%.

                                           COUNT III
                        Declaration Concerning the Value of Defendant’s
                                  Interest in Princeton-Florida

           56.   Plaintiffs incorporate by reference the foregoing paragraphs as if fully set forth

 herein.

           57.   Plaintiff seeks a declaration that Plaintiff’s calculation of the value of Defendant’s

 interest in Princeton-Florida is correct.

           58.   Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, et seq., as there is a real controversy between the parties, an interest

 is adversely affected, and the issue is ripe for resolution.

           59.   There exists in this case a controversy involving the rights or other legal relations

 of the party seeking declaratory relief. Pursuant to Section 259(a) of the DGCL, when “when

 constituent corporations combine in a merger, all property, rights, privileges, powers and

 franchises, and all and every other interest shall be thereafter as effectually the property of the

 surviving or resulting corporation.” Hyde Park Venture Partners Fund III, L.P. v. FairXchange,

 LLC, 292 A.3d 178, 197 (Del. Ch. 2023) (internal quotation omitted).




 153318432.1
                                                   12
Case 1:25-cv-00131-RGA           Document 11         Filed 03/07/25     Page 13 of 14 PageID #: 159




          60.    In this case, Princeton-Delaware, as the surviving entity of the Merger, possesses

 the right to seek a determination of the value of Defendant’s ownership interest at the time of the

 Merger.

          61.    Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, et seq., as Princeton-Delaware is asserting its claim against

 Defendant, who has an interest in contesting the claim.

          62.    Declaratory judgment is proper in this matter, pursuant to 28 U.S.C.A. § 2201(a)

 et seq., and 10 Del. C. § 6501, et seq., as the controversy exists between parties whose interests

 are real and adverse. Defendant has articulated his position that he disputes the value of his interest

 in Princeton-Florida, and intends to pursue his purported claims.

          63.    This court should make a determination that the value of Defendant’s interest in

 Princeton-Florida at the time of the Merger was $173,000.

                                       PRAYER FOR RELIEF

          Plaintiff respectfully requests the following relief:

                 (a)     A declaratory judgment that Defendant does not own any interest in

          Princeton-Delaware;

                 (b)     A declaratory judgment that Defendant’s percentage ownership interest in

          Princeton-Florida at the time of the Merger was 6.85%; and

                 (c)     A declaratory judgment that the value of Defendant’s interest in Princeton-

          Florida at the time of the Merger was $173,000;

                 (d)     An award or attorneys’ fees and costs; and




 153318432.1
                                                    13
Case 1:25-cv-00131-RGA          Document 11       Filed 03/07/25       Page 14 of 14 PageID #: 160




                 (e)    Any and all other and further relief as necessary to effectuate the Court’s

          judgment, or as the Court otherwise deems just and proper.


                                                 LEWIS BRISBOIS BISGAARD & SMITH LLP

                                                  /s/ Aimee M. Czachorowski
                                                 Francis G.X. Pileggi (No. 2624)
                                                 Aimee M. Czachorowski (No. 4670)
                                                 500 Delaware Avenue, Suite 700
                                                 Wilmington, DE 19801
                                                 (302) 985-6000
                                                 Francis.Pileggi@LewisBrisbois.com
                                                 Aimee.Czachorowski@LewisBrisbois.com

                                                 Attorneys for Plaintiff




  Date: March 7, 2025




 153318432.1
                                                 14
